        Case 4:07-cv-05944-JST Document 4752-1 Filed 08/09/16 Page 1 of 2




1
2                                UNITED STATES DISTRICT COURT
3                             NORTHERN DISTRICT OF CALIFORNIA
4                                     SAN FRANCISCO DIVISION
5    IN RE: CATHODE RAY TUBE (CRT)                  Case No. 3:07-cv-5944
     ANTITRUST LITIGATION                           MDL No. 1917
6
                                                    CLASS ACTION
7
                                                    ATTACHMENT A
8    This Document Relates to:                      TO NOTICE OF APPEAL
9    All Indirect Purchaser Actions
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                      ATTACHMENT A TO NOTICE OF APPEAL
                                      Case No. 3:07-cv-5944, MDL No. 1917
        Case 4:07-cv-05944-JST Document 4752-1 Filed 08/09/16 Page 2 of 2




1
     Names of Appellants: Indirect Purchaser Plaintiff Class and class members Anthony Gianasca,
2
     Gloria Comeaux, Mina Ashkannejhad individually and/or as Administrator of the Estate of the
3
4    Late R. Deryl Edwards, Jr., Jeffrey Speaect, Rosemary Ciccone and Jeff Craig

5
     Judgment Appealed From: Final Judgment of Dismissal with Prejudice as to the Philips,
6
     Panasonic, Hitachi, Toshiba, SamSung SDI, Thomson, and TDA Defendants, dated July 14,
7
8    2016, entered July 14, 2016 (Doc. No. 4717)

9    A copy of the Judgment is attached to the Notice of Appeal as Attachment B

10
     Names of Parties to Order and Names and Addresses of Attorneys for Each Party:
11
     See Attachment C
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                     1
                                     ATTACHMENT A TO NOTICE OF APPEAL
                                     Case No. 3:07-cv-5944, MDL No. 1917
